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                        IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TEXAS
                                   LUFKIN DIVISION

UNITED STATES OF AMERICA                         §
                                                 §
                                                 § CASE NUMBER 9:18-CR-00013-RC
v.                                               §
                                                 §
                                                 §
JOEL RUEBEN LAMBRIGHT, JR.                       §
                                                 §

                 ORDER ADOPTING REPORT AND RECOMMENDATION
                     OF UNITED STATES MAGISTRATE JUDGE

          Before the court is a report and recommendation of the United States magistrate judge

regarding the Defendant’s competency for trial. The parties have not filed objections to the

report.

          Having conducted an independent review, the court concludes that the Defendant is

competent to stand trial because he is able to understand the nature and consequences of the

proceedings against him, and able to assist his attorney in his defense. It is therefore

          ORDERED that the report and recommendation of the United States magistrate judge

on the Defendant’s competency to stand trial is ADOPTED. It is further ORDERED that the

Defendant, Joel Rueben Lambright, Jr., is competent. The speedy trial time shall be excluded

from August 24, 2018 until the date of this order.

               So ORDERED and SIGNED March 19, 2019.




                                                       ____________________________
                                                        Ron Clark, Senior District Judge
